        Case 1:19-cv-04360-JPO-KHP Document 38 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  10/20/2020
-----------------------------------------------------------------X
HASHIMI,
                                                 Plaintiff,                    ORDER RESCHEDULING STATUS
                                                                                      CONFERENCE
                             -against-
                                                                                  19-CV-04360 (JPO) (KHP)
SATELIP RESTAURANT CORP. ET AL,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         The telephonic Status Conference scheduled for Monday, November 9, 2020 at 12:30

p.m. is hereby rescheduled to Monday, November 23, 2020 at 12:00 p.m. Counsel for the

parties are directed to call Judge Parker’s court conference line at the scheduled time. Please

dial (866) 434-5269, Access code: 4858267.


         SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                                                     ______________________________
                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge




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